     Case 4:20-cv-05146-YGR         Document 225-2       Filed 06/23/21   Page 1 of 4



 1

 2

 3

 4

 5

 6

 7

 8

 9

10

11                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
12                                     SAN JOSE DIVISION
13
      PATRICK CALHOUN, et al., on behalf of           Case No. 5:20-cv-05146-LHK-SVK
14    themselves and all others similarly situated,
                                                      [PROPOSED] ORDER GRANTING
15           Plaintiffs,                              PLAINTIFFS’ ADMINISTRATIVE
                                                      MOTION TO SEAL
16           v.
17    GOOGLE LLC,
18           Defendant.
19

20

21

22

23

24

25

26

27

28
     Case 4:20-cv-05146-YGR        Document 225-2        Filed 06/23/21    Page 2 of 4



 1                                     [PROPOSED] ORDER
 2          Having considered Plaintiffs’ Administrative Motion, the declaration filed by the
 3   Designating Party, Google LLC, and good cause appearing, the Court hereby GRANTS the motion
 4   and ORDERS the following materials remain filed under seal.
 5
          Document                 Text Sought to be     Basis for Sealing        Ruling
 6
                                   Sealed                Portion of Document
 7                                 Page i, Lines 8, 9,
                                   12, 27, 28
 8                                 Page 2, Lines 18,
                                   19, 20-28             Contains, Summarizes
 9        Plaintiffs’ Notice of    Page 3, Lines 2-5,    or Reflects Material
10        Motion and Motion to     10-11, 15, 22-26      Designated
          Compel, and              Page 6, Lines 27-     Confidential or Highly
      1                                                                           GRANTED
11        Memorandum of            28                    Confidential –
          Points and Authorities   Page 7, Lines 2-28    Attorneys’ Eyes Only
12        in Support thereof       Page 8, Lines 1-3,    Pursuant to Stipulated
                                   5-7, 10-24, 27        Protective Order
13                                 Page 9, Line 16
14                                 Page 10, Lines 14-
                                   17, 20-23, 25-26
15                                                       Contains, Summarizes
                                                         or Reflects Material
16        Declaration of Jay                             Designated
                                   Page 2, Line 17
          Barnes in Support of                           Confidential or Highly
17    2                            Page 3, Line 2-3,                              GRANTED
          Plaintiffs’ Motion to                          Confidential –
                                   5-8
18        Compel                                         Attorneys’ Eyes Only
                                                         Pursuant to Stipulated
19                                                       Protective Order
                                                         Contains Information
20                                                       Designated
          Exhibit A to the                               Confidential or Highly
21
      3   Declaration of Jay       Entire Document       Confidential –           GRANTED
22        Barnes                                         Attorneys’ Eyes Only
                                                         Pursuant to Stipulated
23                                                       Protective Order
                                                         Contains, Summarizes
24                                                       or Reflects Material
25                                                       Designated
          Exhibit B to the
                                                         Confidential or Highly
      4   Declaration of Jay       Entire Document                                GRANTED
26                                                       Confidential –
          Barnes
                                                         Attorneys’ Eyes Only
27                                                       Pursuant to Stipulated
                                                         Protective Order
28

     [PROPOSED] ORDER RE
     PLS. ADMIN. MOT. TO SEAL                      1            CASE NO. 5:20-CV-05146-LHK-SVK
     Case 4:20-cv-05146-YGR     Document 225-2        Filed 06/23/21    Page 3 of 4


                                                      Contains, Summarizes
 1
                                                      or Reflects Material
 2                                                    Designated
          Exhibit C to the
                                                      Confidential or Highly
      5   Declaration of Jay    Entire Document                                GRANTED
 3                                                    Confidential –
          Barnes
                                                      Attorneys’ Eyes Only
 4                                                    Pursuant to Stipulated
                                                      Protective Order
 5
                                                      Contains, Summarizes
 6                                                    or Reflects Material
                                                      Designated
 7        Exhibit D to the
                                                      Confidential or Highly
      6   Declaration of Jay    Entire Document                                GRANTED
                                                      Confidential –
 8        Barnes
                                                      Attorneys’ Eyes Only
 9                                                    Pursuant to Stipulated
                                                      Protective Order
10                                                    Contains, Summarizes
                                                      or Reflects Material
11                                                    Designated
          Exhibit E to the
                                                      Confidential or Highly
12    7   Declaration of Jay    Entire Document                                GRANTED
                                                      Confidential –
          Barnes
13                                                    Attorneys’ Eyes Only
                                                      Pursuant to Stipulated
14                                                    Protective Order
                                                      Contains, Summarizes
15                                                    or Reflects Material
                                                      Designated
16        Exhibit F to the
                                                      Confidential or Highly
      8   Declaration of Jay    Entire Document                                GRANTED
17                                                    Confidential –
          Barnes
                                                      Attorneys’ Eyes Only
18                                                    Pursuant to Stipulated
                                                      Protective Order
19                                                    Contains, Summarizes
20                                                    or Reflects Material
                                                      Designated
          Exhibit G to the
21                                                    Confidential or Highly
      9   Declaration of Jay    Entire Document                                GRANTED
                                                      Confidential –
22        Barnes
                                                      Attorneys’ Eyes Only
                                                      Pursuant to Stipulated
23                                                    Protective Order
24                                                    Contains, Summarizes
                                                      or Reflects Material
25                                                    Designated
         Proposed Order on      Page 1, Lines 5, 6,   Confidential or Highly
26    10 Motion to Compel                                                      GRANTED
                                10                    Confidential –
                                                      Attorneys’ Eyes Only
27
                                                      Pursuant to Stipulated
28                                                    Protective Order

     [PROPOSED] ORDER RE
     PLS. ADMIN. MOT. TO SEAL                    2             CASE NO. 5:20-CV-5146-LHK-SVK
     Case 4:20-cv-05146-YGR       Document 225-2   Filed 06/23/21   Page 4 of 4



 1            IT IS SO ORDERED.
 2

 3   Dated:
                                                   HON. SUSAN VAN KEULEN
 4
                                                   UNITED STATES MAGISTRATE JUDGE
 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

     [PROPOSED] ORDER RE
     PLS. ADMIN. MOT. TO SEAL                  3           CASE NO. 5:20-CV-5146-LHK-SVK
